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    1 Sharre Lotfollahi (SBN 258913)

    2
      sharre.lotfollahi@kirkland.com
      KIRKLAND & ELLIS LLP
    3 2049 Century Park East, Suite 3700

    4
      Los Angeles, CA 90067
      (310) 552-4200
    5

    6 Garret A. Leach (admitted pro hac vice)
        garret.leach@kirkland.com
    7 Megan M. New (admitted pro hac vice)

    8 megan.new@kirkland.com
        Nikhil Krishnan (SBN 300616)
    9 nikhil.krishnan@kirkland.com

   10 Kyle M. Kantarek (admitted pro hac vice)
        kyle.kantarek@kirkland.com
   11 KIRKLAND & ELLIS LLP

   12 300 North LaSalle
        Chicago, IL 60654
   13 312-862-2000

   14
        Attorneys for Plaintiff Impact Engine, Inc.
   15

   16                             UNITED STATES DISTRICT COURT
   17                        SOUTHERN DISTRICT OF CALIFORNIA
   18

   19 IMPACT ENGINE, INC.,                            CASE NO. 3:19-cv-01301-CAB-DEB
   20                Plaintiff,
                                                      IMPACT ENGINE’S RULE 72
   21         vs.                                     OBJECTIONS TO DISCOVERY
                                                      ORDER
   22 GOOGLE LLC,
                                                      Judge: Hon. Cathy A. Bencivengo
   23                Defendant.                       Courtroom: 4C
                                                      Magistrate: Hon. Daniel E. Butcher
   24                                                 Courtroom: 3C
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    1 I.       INTRODUCTION
    2          Pursuant to Federal Rule of Civil Procedure 72 and Local Rule 7.1, Plaintiff
    3 Impact Engine, Inc. (“Impact Engine”) respectfully objects to the Magistrate Judge’s

    4 Order on Joint Motion For Determination of Discovery Dispute (Dkt. 101, “the

    5 Order”).      In that Order, the Magistrate Judge ruled that “litigation funding
    6 agreement(s) and related documents are relevant” and ordered “Impact Engine to

    7 produce all responsive documents that are not otherwise protected from disclosure.”

    8 Dkt. 101 at 2.1

    9          Google sought an order compelling Impact Engine to produce “contracts or
   10 agreements relating to litigation funding as well as documents relating to such

   11 contracts or agreements.” Dkt. 102 at 3. But the documents Google seeks are not

   12 relevant to any claims, defenses, or specific issues in the case.         Impact Engine
   13 ordinarily would not object to a discovery order, but the sensitivity of the information

   14 that is subject to the Order creates a high risk for prejudice that is not justified given

   15 the de minimus relevance of the information sought. Indeed, the Order itself expressly

   16 “acknowledges the sensitivity of litigation funding agreements.” Dkt. 101 at 4 n. 3.2

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   18       The Court ordered the production for August 26th, which the parties jointly
   19
      moved the Court to stay pending resolution of Impact Engine’s Rule 72 objections.
      Dkt. 103.
   20      2
               While the issue of the privileged nature of the documents sought was not
   21   before, and therefore not decided, by the Magistrate Judge, Impact Engine anticipates
        that most—if not all—of the documents that Google seeks will be withheld from
   22
        production under the attorney client privilege, attorney work product doctrine, or
   23   common interest privilege if the Court determines they are relevant. See Devon IT,
        Inc. v. IBM Corp., No. 10-2899, 2012 WL 4748160, at *1 n. 1 (E.D. Pa. Sept. 27,
   24
        2012) (quashing subpoena seeking materials shared with a litigation funder because
   25   those materials were privileged and protected under attorney-client privilege, work
        product doctrine, and common interest privilege); Mondis Technology, Ltd. v. LG
   26
        Electronics, Inc., Nos. 2:07–CV–565–TJW–CE, 2:08–CV–478–TJW, 2011 WL
   27   1714304, at *2-3 (E.D. Tex. May 4, 2011) (documents prepared for and shared with
        potential investors were protected work product, and work product protection was not
   28
        waived because documents were shared subject to non-disclosure agreements); Miller
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    1         Further, the Order’s reliance on the Protective Order to justify production of
    2 the documents sought is insufficient given the sensitive and confidential nature of

    3 those documents and Google’s improper intended use of the documents. Google’s

    4 primary argument in support of its motion to compel was that it wants to tell the jury

    5 about Impact Engine’s funding arrangement in order to argue that Impact Engine is

    6 not entitled to a full damages award. See Dkt. 102 at 3. As set forth in Impact

    7 Engine’s response to Google’s argument, not only are the documents highly

    8 prejudicial given that they are not relevant to the amount of damages that should be

    9 awarded in this case, they are also inadmissible. See id. at 5. Even with a Protective

   10 Order in place, Impact Engine should not be forced to reveal the details of the

   11 confidential relationship between Impact Engine, the litigation funder, and its legal

   12 counsel when the documents that Google seeks are unlikely to be used at trial or ever

   13 shown to the jury.       While Google also argues that the documents may contain
   14 “assessments of the strengths or weaknesses in Impact Engine’s positions on liability,

   15 validity, and damages,” Impact Engine has represented through a declaration from its

   16 counsel that the documents do not contain any such information, other than one

   17 privileged document. Id. at 3, 6.

   18         Forcing Impact Engine to produce the compelled litigation funding documents
   19 will likely have wide-ranging repercussions in this case, including additional,

   20 irrelevant discovery requests from Google, wasted resources spent on issues other

   21 than the merits of this case, and potentially negative effects on settlement efforts.

   22 Google is well-aware that the documents it seeks have no bearing on the merits of this

   23 case, and at bottom, is seeking this information to improperly discover Impact

   24 Engine’s financial arrangements for this litigation so Google and its counsel can

   25 leverage that information in its litigation and settlement tactics. The information

   26

   27 U.K. Ltd. v. Caterpillar, Inc., 17 F. Supp. 3d 711, 735-740 (N.D. Ill. 2014) (documents
        provided to litigation funders by a plaintiff and its counsel pursuant to confidentiality
   28
        agreements were protected work product and not discoverable).
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    1 Google is seeking is no different than if Impact Engine sought Google’s retention

    2 agreement and bills with its own counsel. Ultimately, given the irrelevant, sensitive

    3 and privileged nature of the documents sought, this discovery is not warranted and

    4 Impact Engine’s objections to the Order should be sustained.

    5 II.    STANDARD OF REVIEW
    6        Federal Rule of Civil Procedure 72(a) provides that “[w]hen a pretrial matter
    7 not dispositive of a party’s claim or defense is referred to a magistrate judge to hear

    8 and decide, the magistrate judge must promptly conduct the required proceedings and,

    9 when appropriate, issue a written order stating the decision. A party may serve and

   10 file objections to the order within 14 days after being served with a copy.” Fed. R.

   11 Civ. P. 72(a). Such objections are reviewed under the “clearly erroneous or contrary

   12 to law” standard set forth in 28 U.S.C. § 636(b)(1)(A). Fed. R. Civ. P. 72(a); Folb v.

   13 Motion Picture Indus. Pension & Health Plans, 16 F. Supp. 2d 1164, 1167-68 (C.D.

   14 Cal. 1998), aff’d, 216 F.3d 1082 (9th Cir. 2000).

   15 III.   ARGUMENT
   16        The Court should sustain Impact Engine’s objections and deny Google’s
   17 attempts to discover the litigation funding agreement and documents or

   18 communications related to the agreement for three critical reasons. First, Google’s

   19 requests are a fishing expedition that do not support its attack on Impact Engine’s

   20 purported damages trial theme.       Second, Google’s requests are not reasonably
   21 calculated to lead to the discovery of admissible evidence because the materials

   22 sought are not relevant to any claim or defense in this case, and are therefore not

   23 subject to discovery. Third, the Order did not consider the lack of probative value of

   24 the documents Google is seeking or how their production will ultimately impact the

   25 litigation.

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    1        A.     Litigation Funding Documents Are Not Relevant To Impact
    2               Engine’s Damages Award
    3        Impact Engine objects to the Order’s conclusion that “Google is entitled to
    4 discovery of litigation funding agreements and related documents because they are

    5 relevant to. . . refute potential trial themes.” Dkt. 101 at 4. Specifically, the Order

    6 found that the documents are relevant to refute Impact Engine’s anticipated trial

    7 theme that it is entitled to damages to make it whole for Google’s ongoing, willful

    8 patent infringement. Id. But documents related to litigation funding are irrelevant to

    9 the amount of damages to which Impact Engine is entitled, especially where—as

   10 here—the documents sought do not contain any discussions of Impact Engine’s

   11 damages case or theories.

   12        Google argues that it needs the litigation funding agreement to undermine or
   13 refute a purported “David vs. Goliath” trial theme. And Google expressly plans to

   14 use the documents at trial to counteract the “jury’s emotions” and argue that “any

   15 damages awarded would not solely go to Impact Engine.” Dkt. 102 at 3. But, this

   16 argument ignores that under the Patent Act, Impact Engine is entitled to damages if it

   17 proves infringement. 35 U.S.C. § 284 (“the court shall award the claimant damages”)

   18 (emphasis added). Moreover, “the litigation funding documents have no bearing on

   19 evidence that is needed to prove a claim or defense at a trial or establish the amount

   20 of damages that a jury should award.” Fulton v. Foley, No. 17-CV-8696, 2019 WL

   21 6609298, at *3 (N.D. Ill. Dec. 5, 2019) (emphasis added). The existence of a litigation

   22 funding agreement does not change the fact that Impact Engine must be compensated

   23 for Google’s infringement, and Google notably failed to cite any case to support its

   24 theory otherwise. See generally Dkt. 102 at 3-4.

   25        It is both improper and prejudicial for Google to try to undermine Impact
   26 Engine’s statutory entitlement to damages for Google’s willful infringement by

   27 arguing that part of any damages award may go to a litigation funder. Other courts

   28 that have considered this same argument agree. See, e.g., SSL Servs., LLC v. Citrix

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    1 Sys., Inc., No. 2:08-cv-158-JRG, 2012 WL 12906091, at *1 (E.D. Tex. May 24, 2012)

    2 (precluding any reference to investors in the litigation, litigation financing, or

    3 attorney’s fee arrangements); Eidos Display, LLC v. Chi Mei Innolux Corp., No. 6:11-

    4 CV-00201-JRG, 2017 WL 2773944, at *1 (E.D. Tex. May 26, 2017) (same). Indeed,

    5 the assistance of litigation funding in order to pay the fees and expenses of a litigation

    6 does not assist the fact-finder in determining the credibility of witness testimony

    7 related to or its entitlement to damages. Fulton v. Foley, 2019 WL 6609298, at *3

    8 (“litigation funding documents have no bearing on evidence that is needed to . . .

    9 establish the amount of damages that a jury should award”); Benitez v. Lopez, No. 17-

   10 CV-3827-SJ-SJB, 2019 WL 1578167, at *1 (E.D.N.Y. Mar. 14, 2019) (“The financial

   11 backing of a litigation funder is as irrelevant to credibility as the Plaintiff’s personal

   12 financial wealth, credit history, or indebtedness.”). In other words, Google cannot

   13 negate its own liability by attacking Impact Engine’s worthiness of damages merely

   14 because it sought financial help to take on a “Goliath.”

   15        Given the irrelevant, prejudicial, and inadmissible nature of the documents
   16 Google seeks, Impact Engine should not be required to produce or include on a

   17 privilege log the litigation funding agreement or related documents.

   18        B.     Impact Engine’s Litigation Funding Documents Are Not Relevant
   19               To The Other Claims And Defenses At Issue
   20        Impact Engine also objects to the Order’s ruling that the litigation funding
   21 documents are “relevant to the patent infringement claims at issue here.” Dtk. 101 at

   22 4. Google argues the documents it seeks are relevant because they “are likely to

   23 include discussion of the case, including assessments of the strengths or weaknesses

   24 in Impact Engine’s positions on liability, validity, and damages.” Dkt. 102 at 3. But

   25 the law is clear that discovery has its limitations, particularly “when the inquiry

   26 touches upon the irrelevant….”        Hickman v. Taylor, 329 U.S. 495, 508 (1947).
   27 “Relevance is not inherent in any item of evidence, but exists only as a relation

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    1 between an item of evidence and the matter properly provable in the case.” Miller

    2 U.K., 17 F. Supp. 3d at 722.

    3        To that end, courts around the country have taken a very narrow view of the
    4 relevance of litigation funding documents, and the predominate view is that such

    5 documents are not relevant to any claim or defense and are therefore not subject to

    6 discovery.      See, e.g., In re Valsartan N-Nitrosodimethylamine (NDMA)
    7 Contamination Prod. Liab. Litig., 405 F. Supp. 3d 612, 615 (D.N.J. 2019); see also

    8 Space Data Corp. v. Google LLC, No. 16-cv-03260 BLF (NC), 2018 WL 3054797

    9 (N.D. Cal. June 11, 2018) (denying defendant’s motion to compel documents and

   10 communications about potential litigation funding as irrelevant); Telesocial Inc. v.

   11 Orange S.A., No. 3:14-cv-03985, Dkt. 165 (N.D. Cal. Sept. 30, 2016) (attached as Ex.

   12 1) (same); Kaplan v. S.A.C. Capital Advisors, L.P., No. 12-CV-9350 VM KNF, 2015

   13 WL 5730101, at *5 (S.D.N.Y. Sept. 10, 2015), aff’d, 141 F. Supp. 3d 246 (S.D.N.Y.

   14 2015) (same); MLC Intellectual Property LLC v. Micron Technology, Inc., Case No.

   15 14-cv-3657-SI, 2019 WL 118595, at *2 (N.D. Cal. Jan. 7, 2019) (same); Benitez, 2019

   16 WL 1578167 at *1 (same); Fulton v. Foley, 2019 WL 6609298, at *2 (same). As just

   17 one example, in one of the leading cases on this issue, Miller U.K. Ltd. v. Caterpillar,

   18 the Northern District of Illinois denied a trade secret defendant’s request to compel

   19 production of documents evidencing the structure and terms of plaintiff’s agreement

   20 with a third party litigation funder. 17 F. Supp. 3d at 721-730. The Miller U.K. court

   21 reasoned that because the litigation funder would not be a witness in a case and would

   22 therefore not be biased by the amount it may receive from the case, documents relating

   23 to the litigation funding agreement (particularly relating to the nature of the funding

   24 arrangements themselves) were simply not relevant to any of the claims or defenses

   25 in the case. Id. at 721-24. Similarly here, Impact Engine’s litigation funder will not

   26 serve as a witness in this case—a fact of which Google is aware—and the amount it

   27 receives if Impact Engine succeeds on its claims will have no bearing on the jury’s

   28 finding of infringement, validity, or statutory damages.

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    1          Google has identified no specific claim or defense in this case to which the
    2 materials sought would have any relevance.          Instead, it resorts to the sweeping
    3 argument that the documents may be relevant to every issue that exists in every patent

    4 case—namely, liability, validity and damages—without identifying any specific issue

    5 in this case to which the documents are relevant. See UAT, LLC v. AT&T Corp., C.A.

    6 No. 11-338-LPS, 2020 WL 3128269, at *1–*2 (D. Del. June 12, 2020) (Stark, J.)

    7 (denying motion to compel litigation funding documents where defendant “fail[ed] to

    8 articulate how [documents related to litigation funding] are relevant to the specific

    9 claims or defenses of this case”).3 Indeed, Google has “raised no nonspeculative basis

   10 for [its] discovery requests,” instead pointing to a potential trial theme, possible jury

   11 emotions, and non-existent statements in the documents it seeks, all of which should

   12 “result[] in its denial.” In re Valsartan, 405 F. Supp. 3d at 615–16.4 Nevertheless,

   13 the Order agreed with Google’s argument regarding the relevance of the documents,

   14 relying on In re Valsartan, 405 F. Supp. 3d at 616 for the proposition that “patent

   15 infringement cases present a ‘special litigation context[].’” Dkt. 101 at 3. However,

   16 In re Valsartan considered the question of who had ownership of a patent when

   17 determining standing to bring a lawsuit. In re Valsartan, 405 F. Supp. 3d at 616. But

   18

   19      3
               Google relied on Acceleration Bay LLC v. Activision Blizzard, Inc., No. 16-cv-
   20 453, 2018 WL 798731 (D. Del. Feb. 9, 2018), in its motion to compel, but that reliance

   21
      is misplaced. Dkt. 102 at 3-4. The defendant in that case made the exact same
      arguments that Google makes here and those arguments were rejected in UAT
   22 (“Acceleration Bay does not hold (as no case could) that such materials are always

   23
      relevant”) .
           4
             See also Kaplan, 2015 WL 5730101, at *5; VHT, Inc. v. Zillow Group, Inc., Case
   24
        No. C15-1096 JLR, 2016 WL 7077235, at *1 (W.D. Wash. September 8, 2016)
   25   (denying litigation funding discovery “[w]ithout some objective evidence that any of
        [defendant’s] theories of relevance apply to [the] case.”); In Re: Riddell Concussion
   26
        Reduction Litigation, C.A. No. 13-7585 (JBS/JS), 2016 WL 7325512, at *3 (D.N.J.
   27   Jan. 19, 2016) (discovery of the class representatives’ fee agreements denied on the
        ground that defendant’s arguments were “speculative and insufficient to demonstrate
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        the relevance of the sought-after fee agreements”).
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    1 standing is not at issue here. See Ex. 2, (“Google will not raise standing arguments in

    2 moving to compel documents responsive to RFP 60.”). Rather, Google purportedly

    3 seeks the litigation funding documents in an effort to call into question Impact

    4 Engine’s positions on liability and limit Impact Engine’s potential damages award—

    5 something nearly every defendant tries to accomplish in every case. There is no

    6 “special litigation context” at issue here, and the Order and Google have identified

    7 none.

    8         Simply put, how Impact Engine funds its litigation efforts is completely
    9 unrelated to whether Google’s products infringe Impact Engine’s patents, whether

   10 those patents are valid, and the amount of damages to which Impact Engine is entitled.

   11 See In re Valsartan, 405 F. Supp. 3d at 615 (“[D]iscovery will be Ordered where there

   12 is a sufficient showing that a non-party is making ultimate litigation or settlement

   13 decisions, the interests of plaintiffs or the class are sacrificed or are not being

   14 protected, or conflicts of interest exist. However, no such evidence has been raised

   15 by defendants and, to date, the Court has not seen anything of the sort.”);

   16 Benitez, 2019 WL 1578167 at *1 (“Whether plaintiff is funding this litigation through

   17 savings, insurance proceeds, a kickstarter campaign, or contributions from the union

   18 is not relevant to any claim or defense at issue.”) (citing Yousefi v. Delta Elec. Motors,

   19 Inc., No. 13-CV-1632, 2015 WL 11217257, at *2 (W.D. Wash. May 11, 2015)).

   20 Thus, the funding agreement or related documents between Impact Engine and its

   21 litigation funder concerning financial arrangements cannot be and is not reasonably

   22 calculated to lead to the discovery of admissible evidence because they have no

   23 bearing whatsoever on the claims or defenses in this case.

   24         C.    The Documents Google Seeks Have Minimal, If Any, Probative
   25               Value
   26         Impact Engine also objects to the Order because in determining relevance, it
   27 did not consider the probative value of the documents Google seeks. To be sure, the

   28 documents Google seeks have minimal, if any, probative value. As Impact Engine

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    1 informed Google and the Court in its response to Google’s motion to compel, Impact

    2 Engine does not possess any litigation funding agreements, documents or

    3 communications that include a “discussion of the case, including assessments of the

    4 strengths or weaknesses in Impact Engine’s positions on liability, validity, and

    5 damages,” other than one privileged document prepared by Impact Engine and its

    6 counsel. Dkt. 102-1, Declaration of Megan M. New, at ¶¶ 2-4. The documents simply

    7 do not contain what Google claims they do.         That Google continues to fish for
    8 purported “party admissions”—despite Impact Engine’s clear attorney declaration

    9 that no such admissions exist—shows its true intention to create a sideshow of

   10 irrelevant issues, waste Impact Engine’s time and resources on documents that have

   11 no bearing on the merits of this case, and use the information in the documents to

   12 improperly inform its litigation tactics and gain leverage in the case and settlement

   13 discussions that will only harm Impact Engine. Google’s requests are “negligibly

   14 relevant, minimally important in resolving the issues[,] and unduly burdensome,” and

   15 therefore are “disproportional to the needs of the case.”        VHT, Inc., 2016 WL
   16 7077235, at *1. Thus, the documents sought have limited probative value that does

   17 not outweigh the prejudice of production to Impact Engine.

   18 IV.    CONCLUSION
   19        For all of these reasons, the Court should sustain Impact Engine’s objections to
   20 the Order relating to the production of the litigation funding agreement and related

   21 documents.

   22
        DATED: August 26, 2020                    Respectfully submitted,
   23
                                                  KIRKLAND & ELLIS LLP
   24
                                                  By: /s/ Sharre Lotfollahi________
   25                                                     Sharre Lotfollahi
   26                                             Attorneys for Plaintiff
                                                  IMPACT ENGINE, INC.,
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    1                             CERTIFICATE OF SERVICE
    2
              The undersigned hereby certifies that a true copy of the foregoing document
    3
        has been served on August 26, 2020 to all counsel of record who are deemed to have
    4
        consented to electronic service via the Court’s CM/ECF system per Civil Local Rule
    5
        5.4. Any other counsel of record will be served by electronic mail, facsimile, and/or
    6
        overnight delivery.
    7

    8 DATED: August 26, 2020                       KIRKLAND & ELLIS LLP
    9                                              By: /s/ Sharre Lotfollahi________
                                                           Sharre Lotfollahi
   10
                                                   Attorneys for Plaintiff
   11                                              IMPACT ENGINE, INC.,
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